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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

COLE PECK,                                      §
                                                §
       Plaintiff/Counter-Defendant/             §
       Third-Party Plaintiff,                   §
                                                §
v.                                              §
                                                §
ASSET MANAGEMENT ASSOCIATES,                    §
LLC,                                            §
                                                §
       Defendant/Counter-Plaintiff,             §
                                                §
v.                                              §
                                                §
JA LYNN KUO, KAREN KUO, SUBHO                   §         Case No. 3:17-cv-02923-N
MULLICK, JAMES FLETCHER III,                    §
SALIMA THOBANI, GARY MARK                       §
WILSON,                                         §
                                                §
       Counter-Defendants/Third-Party           §
       Plaintiffs,                              §
                                                §
v.                                              §
                                                §
GREG MCGAW and DAVID SHANE                      §
SHOULDERS,                                      §
                                                §
       Third-Party Defendants.                  §

                 PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 56 and Local Civil Rules 56.1 to 56.7,

Plaintiff/Counter-Defendant Cole Peck (“Peck”) files this Motion for Summary Judgment

(“Motion”) and respectfully shows the Court as follows:




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                                                 I.
                                            SUMMARY

        Peck files this Motion requesting that the Court enter summary judgment in his favor on

his claim for declaratory judgment brought under 28 U.S.C. § 2201. See ECF. No. 1 ¶¶ 16-18.

Peck seeks a declaration from the Court that he has no continuing obligations under a Guaranty of

Lease previously entered into with Defendant/Counter-Plaintiff Asset Management Associates,

LLC. Peck contemporaneously files his Motion for Reconsideration of Sua Sponte Dismissal and

Brief in Support of His Motion for Summary Judgment, ECF. No. 46, which states in full his

arguments and authorities supporting this Motion, and incorporates the same herein by reference.

Peck also files his Appendix in Support of Plaintiff’s Motion for Reconsideration of Sua Sponte

Dismissal and His Motion for Summary Judgment, ECF No. 47, which includes the evidence

supporting the undisputed facts, and incorporates the same herein by reference.

                                              II.
                                      REQUEST FOR RELIEF

        Accordingly, Peck respectfully request that the Court enter a declaratory judgment finding

that he has no continuing liability under the Guaranty of Lease and for all other relief to which he

is justly entitled.




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                                                     Respectfully submitted,

                                                     /s/ Joshua L. Hedrick
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                                                     ATTORNEYS FOR PLAINTIFF AND
                                                     COUNTER-DEFENDANTS

                                    CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing document has been furnished
to all counsel of record in accordance with the Federal Rules of Civil Procedure and the Local
Civil Rules of the U.S. District Court for the Northern District of Texas this 29th day of August,
2018.

                                                     /s/ Joshua L. Hedrick
                                                     Joshua L. Hedrick




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